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FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       04/23/2020



            WILLIAM RICK SINGER was interviewed by telephone. Present for the
        interview were Assistant United States Attorneys Karin Bell and Stephen
        Frank, and SINGER's attorney, Donald Heller. After being advised of the
        identity of the interviewing team and the nature of the interview, SINGER
        provided the following information.

           SINGER stated that he understood that the purpose of the interview was to
        address notes that he made on 10/02/2018 (10/02). SINGER stated that he
        understood that he had to be totally truthful, and that he could stop the
        interview if he was unclear on any questions.

           SINGER stated that he had a chance today to review the notes that he took
        on 10/02. The notes start with, loud and abrasive call with agents. He
        acknowledged that he was first approached by the FBI on 09/21, and the notes
        are dated 10/02. SINGER remembers writing the notes, and stated that the
        notes refer to calls on 10/01 and the weekend. He stated that the calls
        reflected on the notes have nothing to do with the calls when he talks about
        the IRS audit. SINGER acknowledged that the IRS audit calls started on
        10/23. SINGER stated that the 10/02 notes refer to calls that he made to
        people up to that point, including calls on 10/02, 10/01 and the
        weekend. SINGER explained that he usually spoke with the FBI in the mornings
        about what happened the prior day. SINGER stated that the 10/02 notes refer
        to calls that happened before that time, such as 10/01 and 10/02.

           SINGER described what caused him to write the 10/02 notes. SINGER stated
        that he already made calls after the 09/21 approach by the FBI, to Gordon
        Ernst, John Wilson, and others. SINGER pushed back on the agents wanting him
        to say that payments were bribes. SINGER didn't want to use the word bribe,
        that is not how he talks and he hadn't said it before. At the time he never
        considered what he was doing was a bribe and he had several arguments with
        the agents over the word bribe. He was frustrated at the process and part of




   Investigation on    04/22/2020           at   Chelsea, Massachusetts, United States (Phone)

   File #                                                                                                                    Date drafted    04/22/2020

   by   John P. Keelan III
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          it was his own fault, because until he was able to meet with his attorney,
          he didn't understand the meaning of quid pro quo. SINGER stated that his
          attorney explained to him that quid pro quo and bribe were the same. He
          stated that when Liz and the other agents told him that quid pro quo was
          bribery, he didn't understand that they were the same until his attorney
          explained it to him. SINGER stated that he understood that what he was doing
          was wrong, but he didn't think it was a crime. He stated that the mechanics
          of what he was doing were wrong, but he didn't think it was bribery. He
          thought he was doing something wrong but legal, but didn't know for sure
          until his attorney explained that it was illegal. SINGER stated that he
          always knew he was doing a quid pro quo, and now he understands that is the
          same as bribery.

             SINGER stated that he understood that parents making donations to college
          programs and coaches, when kids didn't play the sport, to be recruited with
          fake credentials was wrong. SINGER understood that Donna Heinel or who-else
          was on the other end getting paid was wrong. He stated that if parents
          hadn't made the payment, Heinel was not going to put the kid in
          subco committee at college for admissions. SINGER stated that he now knows
          that is illegal. SINGER acknowledged that, without the payment, the school
          would not recruit a fake athlete with fake credentials. SINGER stated that
          he knows all of the things he was doing were wrong, but he didn't know it
          was a federal crime. He believed there was nothing wrong with making a
          donation, but there is something wrong - without a doubt, about lying about
          credentials. He knew parents wouldn't tell the admissions office what they
          were doing, and he knows that it's not the right thing to do. At the time he
          didn't know it was a federal crime. SINGER acknowledged that he pleaded
          guilty because he now knows it was a crime.

             SINGER stated that the notes about Liz raising her voice refers to the
          hotel meeting. He explained that the exchange was boisterous on both sides,
          including SINGER. Everyone was coming from different places. SINGER stated
          that he didn't like being told to say bribe and payment going to coaches,
          and not a donation. SINGER pushed back on that and said to the agents that
          is not what he said to parents.

             SINGER stated that he remembers saying on the call with Gordon Kaplan
          that money was going to the coach. SINGER stated that it was ok because
          Kaplan didn't know any differently - SINGER hadn't said anything different
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          to Kaplan up to that point. SINGER stated that he was concerned about people
          like Janavs because he already had described the program. SINGER wanted to
          adjust the script.              was a new referral from Kaplan.

             SINGER explained that his basis for writing - wanted to get Kaplan at all
          costs - was based on his observations of the efforts the government took to
          get his daughter extended time for the SAT. SINGER stated that he had many
          calls with Kaplan, and they couldn't get        extended time. They were
          able to get extra time, but not 100 percent extra time, which was needed for
          SINGER to control the test center - and they appealed. SINGER stated that
          Eric kept having him call Kaplan again and again. SINGER stated that Eric
          made a call to SAT, and        received 100 percent extra time. SINGER
          stated that is what formed his impression.

             SINGER stated that the 10/02 notes have nothing to do with calls he made
          several weeks later.

             SINGER noted that the agents didn't do anything wrong. He explained that
          he just didn't understand at the time. SINGER stated that he and the agents
          had disagreements, but both needed to have a better understanding of where
          everyone was coming from.
